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                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF WASHINGTON
                                     SPOKANE DIVISION


NORTH CASCADES CONSERVATION                              Case No. 2:22-cv-00293
COUNCIL,
                                                         DECLARATION OF MICHAEL
              Plaintiff,
                                                         SHAFFER IN SUPPORT OF
       v.                                                PLAINTIFF’S MOTION FOR
                                                         SUMMARY JUDGMENT
UNITED STATES FOREST SERVICE, a
federal agency of the United States Department of
Agriculture, and KRISTIN BAIL, in her official
capacity as Forest Supervisor, Okanogan-
Wenatchee National Forest, United States Forest
Service,
              Defendants.


       I, Michael Shaffer, declare as follows:

       1.     I am a member of Plaintiff North Cascades Conservation Council (“NCCC”).

       2.     My permanent residence sits on land in the Poorman Creek Canyon, which abuts

on two sides the land in the Okanogan-Wenatchee National Forest proposed for logging in the

Twisp Restoration Project (TRP).

       3.     I was raised on this property from birth, and I have lived here all my life since my

parents purchased the property in 1970. I have explored and found solace in the national forest

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         MOTION FOR SUMMARY JUDGMENT
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land surrounding our property, and I consider it a part of the legacy of our family land, as it is

interconnected with its fish and wildlife habitats, biodiversity, and watershed values including

clean water that I use for gardening and personal consumption.

       4.       I work seasonally on a fire crew that contracts with the Forest Service to fight

wildfires, so I am familiar with fire behavior and the impacts of forest fires.

       5.       I regularly visit the TRP project area by mountain biking, hiking, and flying in a

paraglider over the project area.

       6.       I, for myself and on behalf of my neighbors, submitted comments in response to

the Forest Service’s scoping and draft EA comment periods, and I filed an objection to the TRP

through the US Forest Service administrative review process.

       7.       The TRP involves road construction and heavy logging operations that will alter

the ecological and watershed values and aesthetic quality of the land surrounding my land. The

impacts of ground-disturbing machinery for log skidding in the immediate vicinity of Poorman

Creek has the potential to degrade water quality, which could have a direct impact on my health.

       8.       The TRP represents a serious threat to the aesthetic quality of the public land

adjoining my property, as it will leave stumps, logging slash piles, tractor ruts from log skidding,

and road incursions over an area that currently exists in its natural state.

       9.       I will be adversely impacted by the log truck traffic that will occur during the TRP

logging operations, which will occur on a steep, narrow road that is presently posted as closed to

vehicles with trailers, and represents a safety hazard as trucks coming down the steep grade

introduce an unusual traffic variable that I and my neighbors are not used to and will have to

contend with.

       10.      I am aware of the danger to my property from wildfires, and I do wish to protect

my land and my house. However, having reviewed scientific studies that indicate the actions

proposed in the TRP will not likely protect my property from wildfire danger, and in fact may

increase it, I am opposed to the project as written in the Environmental Assessment.

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       11.     I am aware that the TRP includes provisions for “Designation by Description,”

whereby the logging contractor selects the trees to be removed, not resource professionals, and

“Condition-Based Management,” which allows the Forest Service to change the logging

prescription after the decision for the project was signed. This makes it impossible for me to know

what is actually going to occur in the project, and how it will impact my land and my interests.

       12.     I am supportive of an open public process that will revisit options for managing the

forest and wildfires in the TRP project area.

       I hereby declare that the above statement is true to the best of my knowledge and

belief, and that I understand it is made for use as evidence in court and subject to penalty

for perjury.

       DATED this 7th day of July, 2023.



                                                By:
                                                      Michael Shaffer




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                               CERTIFICATE OF SERVICE


       I certify that on July 7, 2023, I served or caused to be served a true and complete copy of

the foregoing DECLARATION OF MICHAEL SHAFFER on the party or parties listed below

as follows:
                   Via CM / ECF Filing
                   Via First Class Mail, Postage Prepaid
                   Via Email
                   Via Personal Delivery

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         MOTION FOR SUMMARY JUDGMENT
